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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 18-CR-32-2 (DLF)
 CONCOR MANAGEMENT AND
 CONSULTING LLC,

                Defendant.


              GOVERNMENT’S MOTION FOR PERMISSION TO OBTAIN
              THE TRANSCRIPT OF THE HEARING ON MARCH 7, 2019


       On March 7, 2019, the Court held a hearing on the defendant’s motion regarding

sensitive discovery. The first part of this hearing was open to the public. (The second part of the

hearing was held under seal.) At the government’s request, the transcript of the first part of the

hearing has been sealed pending a further motion from the government. The government now

requests that the Court issue an order unsealing the transcripts of both parts of the hearing for the

limited purpose of allowing the court reporter to provide copies of the transcripts to the parties.

The government does not seek to unseal these transcripts to the public.

                                       Respectfully submitted,

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JOHN C. DEMERS
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCOR MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


                                      PROPOSED ORDER

       Upon consideration of the government’s motion for permission to obtain the transcripts

of both parts of the hearing held on March 7, 2019, it is hereby

       ORDERED that the government’s motion is GRANTED, and the transcripts from both

parts of the March 7, 2019 hearing are unsealed for the limited purpose of review by the parties.

The transcripts shall remain sealed for all other purposes.



Date: March ___, 2019                                 ______________________________
                                                      Hon. Dabney Friedrich
                                                      United States District Judge
